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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division

 PAISLY BENDER,

         Plaintiff,

  V.                                                          Civil Action No. l:I9-cv-01I22

 PENNSYLVANIA HIGHER EDUCATION
 ASSISTANCE AGENCY D/B/A FEDLOAN
  SERVICING,e/fl/.,

         Defendants.


                                        AODEED ORDER

         CAME NOW Defendant, Experian Information Solutions, Inc.("Experian"), by counsel,

  upon its Consent Motion for an Extension ofTime to file responsive pleadings to the Complaint
  filed by Plaintiff, Paisly Bender;

         UPON CONSIDERATION WHEREOF, for good cause shown and by agreement of

  counsel for Paisly Bender and Experian, it is hereby,

         ORDERED, ADJUDGED and DECREED that Experian's Consent Motion for an
  Extension ofTime be, and hereby is, GRANTED,and it is further,

         ORDERED, ADJUDGED and DECREED that Defendant, Experian Information
                                                                                     tv
  Solutions, Inc., shall be GRANTED an extension of time until on or before October 35, 2019 to

  file its responsive pleadings to the Complaint filed by Paisly Bender.

          The Clerk is directed to send a copy ofthis Order to counsel of record.

  ENTERED this 2^^ay of_S3^»#VBS^2019.

                                                                      M.
                                                                John F. Anderson
                                                          United Stales Magistrate Judge
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